      Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 1 of 46
Original Report                   Exhibit 1


                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

CHARLES TOWNSLEY, MICHAEL SAURO,             )
WALTER NOFFSINGER, ROSA DAVIDSON,            )
MICHAEL KELLY, TITON HOQUE, THANH DO,        )
                                             )
                                             )
Plaintiffs,                                  )
                                             )
                                             )
V.                                           )      Case No. 1:20-cv-00969-LY
                                             )
INTERNATIONAL BUSINESS MACHINES              )
CORPORATION                                  )
                                             )
Defendants.                                  )




                              Expert Report
                                        of
                        Mark Rambin, CPA, CFF
                              February 15, 2022




Original Report                   Exhibit 1                             Page 001
           Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 2 of 46
Original Report                                                       Exhibit 1
Expert Report of Mark Rambin                                                   Townsley, et al. v. International Business Machines Corporation




                                                               Table of Contents

Introduction .................................................................................................................................................. 1
   Qualifications ............................................................................................................................................ 1
   Scope of Retention and Compensation .................................................................................................... 1
   Information Considered ............................................................................................................................ 1
Background ................................................................................................................................................... 2
   The Parties ................................................................................................................................................ 2
   The Dispute ............................................................................................................................................... 2
Discussion and Analysis................................................................................................................................. 3
   Assumptions.............................................................................................................................................. 3
   Summary of Opinions................................................................................................................................ 3
   Methodology Utilized ............................................................................................................................... 3
   Overall Opinion ......................................................................................................................................... 5




Original Report                                                       Exhibit 1                                                              Page 002
        Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 3 of 46
Original Report                                 Exhibit 1
Expert Report of Mark Rambin                           Townsley, et al. v. International Business Machines Corporation




                                               Introduction

Qualifications

      1.      I am a Managing Director with Echelon Analytics (“Echelon”), a specialized consultancy that
provides economic and financial analysis, forensic investigation, and expert testimony in commercial
disputes and litigation. I have provided consulting services to clients involved in commercial disputes in
many industries. I have prepared expert reports and have provided expert testimony in matters before
state and federal courts and in arbitrations. I have practiced in this field for over thirty-five years.


      2.      I am a graduate of The University of Texas at Austin, receiving a Bachelor of Business
Administration in Accounting in 1980. I became licensed as a Certified Public Accountant in 1983. My
professional biography at Exhibit A provides additional information on my education and experience,
including expert testimony over the last four years.


Scope of Retention and Compensation

      3.      Echelon has been retained by counsel for the Plaintiffs in this matter. I have been
requested to analyze financial and economic issues related to economic damages claims asserted by the
Plaintiffs against International Business Machines Corporation (“IBM”).


      4.      Echelon’s compensation for services provided is based on hourly rates ranging from $200
to $695, plus job-related expenses. My hourly rate is $425. The firm’s compensation is not contingent
on or related to the outcome of this litigation.


Information Considered

      5.      In performing my review and analysis to arrive at the opinions expressed herein, I have
relied upon my skills, knowledge, education, experience and training, which are summarized in Exhibit A.
Additionally, I have considered information from a variety of sources, including information produced by
parties to this dispute and information I and/or persons working under my direction obtained
independently. The information I have considered through the date of this report is listed in Exhibit B.




Original Report                                 Exhibit 1                                             Page 003
          Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 4 of 46
Original Report                                  Exhibit 1
Expert Report of Mark Rambin                            Townsley, et al. v. International Business Machines Corporation




         6.     My work is continuing, discovery is ongoing, and I reserve the opportunity to revise and/or
supplement this report based on additional information received or to respond to issues raised by the
parties, their witnesses, or the Court.


         7.     This report is intended to be used solely in this litigation and should not be relied upon for
any other purpose. If I provide deposition or trial testimony, such testimony may supplement the
opinions expressed herein. I may also prepare or assist in the preparation of demonstrative exhibits
related to my analysis and opinions. The exhibits and schedules accompanying this report, including all
footnotes and source notations, are integral parts of this report.


                                                Background

The Parties

         8.     The Plaintiffs are former employees of IBM that currently reside in the United States. Each
Plaintiff is over the age of forty.


         9.     IBM is a NYSE publicly traded global company with a market capitalization of more than
$120 billion. Headquartered in New York, IBM is self-described as an information technology company,
which provides integrated solutions that leverage information technology and knowledge of business
processes. 1


The Dispute

         10.    The Plaintiffs allege that the termination of their employment with IBM was the result of
an illegal and age-discriminatory plan to reduce the overall age of IBM’s workforce. The Plaintiffs seek
to recover their lost earnings and other damages.




1
    wsj.com – retrieved February 10, 2022



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Original Report                                  Exhibit 1                                             Page 004
        Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 5 of 46
Original Report                                  Exhibit 1
Expert Report of Mark Rambin                          Townsley, et al. v. International Business Machines Corporation




                                       Discussion and Analysis

Assumptions

      11.     While I am experienced in analyzing economic damages in litigation and dispute matters, I
am not an attorney nor the finder of fact in this matter. I have not been requested to form, and I have
not formed, any legal opinions on matters related to the alleged age discrimination and wrongful
termination claims asserted by the Plaintiffs.


 Summary of Opinions

      12.     I have calculated the lost earnings damages for each of the Plaintiffs as presented below.
The detailed calculation for each Plaintiff is presented in Exhibit C.


                         Plaintiff Name                Future Value            Present Value
                Davidson                                  $     424,188           $      402,617
                Do                                            1,664,839                1,593,610
                Gelphman                                         95,763                  105,554
                Hoque                                         1,485,711                1,283,106
                Kelly                                           457,157                  488,536
                Noffsinger                                    2,405,784                2,251,449
                Sauro                                         1,885,760                1,905,020
                Townsley                                      2,500,171                2,455,604
                Total Lost Earnings Damages             $ 10,919,373            $ 10,485,496


Methodology Utilized

      13.     My calculations of lost earnings damages are based upon my review of the information
made available to me to date as identified in Exhibit B as well as my personal telephone interviews with
each Plaintiff. These calculations are based upon the assumption that, absent the alleged wrongful
terminations, the Plaintiffs would have remained employed with IBM from the time of their separation
from IBM through the completion of their projected work life. This amount is then compared to their
actual and future projected earnings after their separation from IBM through the completion of their
projected work life. These amounts are also adjusted for interest and inflation factors.




                                                                                                                   3


Original Report                                  Exhibit 1                                           Page 005
        Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 6 of 46
Original Report                                 Exhibit 1
Expert Report of Mark Rambin                          Townsley, et al. v. International Business Machines Corporation




      14.     This methodology is standard and commonly utilized in the measurement of the lost
earnings damages of individuals.2 Additional information concerning the methodology utilized in these
damage calculations is discussed below.


      15.     Work life expectancy – There are widely accepted academic studies commonly utilized to
calculate the expected work life of an individual based upon their age, education, and employment
status.3 This work life expectancy has been utilized in these calculations unless the individual Plaintiff
stated that their work life intentions differed from these calculated work life expectancies.


      16.     Expected earnings from IBM – These amounts have been calculated based upon the prior
earnings information provided in document production in this matter for each Plaintiff beginning as of
their separation from IBM. The earning histories of Plaintiffs with significant variable compensation,
particularly sales commissions, have been averaged over multiple years to provide a basis for the
projection of future earnings.


      17.     Actual earnings after separation from IBM - These amounts have been calculated based
upon the actual earnings or unemployment compensation information provided in document
production in this matter for each Plaintiff. To the extent that a Plaintiff is currently employed, the
compensation from current employment is assumed to continue through their expected work life.


      18.     Employment Fringe Benefits – In addition to direct compensation, the Plaintiffs received
fringe benefits from IBM in the form of paid leave, insurance, other legally required benefits such as
social security contributions, among others. These fringe benefits have been calculated as a percentage
of compensation based upon statistics compiled by the Bureau of Labor Statistics. 4 To the extent that a
Plaintiff received employment fringe benefits from employment after their separation from IBM, this
same calculation has been applied to those earnings.




2
  Measurement of Damages Involving Individuals – American Institute of Certified Public Accountants, 2020
3
  Skoog, Gary R., James E. Ciecka, and Kurt V. Krueger. 2011.
4
  U.S. Department of Labor. Bureau of Labor Statistics. Employer Costs for Employee Compensation – December
2020.



                                                                                                                   4


Original Report                                 Exhibit 1                                            Page 006
        Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 7 of 46
Original Report                                Exhibit 1
Expert Report of Mark Rambin                          Townsley, et al. v. International Business Machines Corporation




      19.     Other economic damages – Such damages include forfeiture of IBM restricted stock units
due to the separation of a Plaintiff from IBM. These amounts are calculated at the value of these
restricted stock units at the time of separation of the Plaintiff from IBM.


      20.     Actual and Projected Growth and Discount Factors – The lost earnings calculations reflect
the application of interest factors for both past and future lost earnings damages. This interest factor
increases past lost earnings and decreases lost future earnings to give effect to the time value of money.
A growth factor in expected future earnings from both IBM and from earnings after separation from IBM
has also been applied to the calculations.


Overall Opinion

      21.     Based upon the information available to me as detailed in Exhibit B, the methodology
described above and detailed in the Exhibit C calculation for each Plaintiff, it is my opinion that the lost
earnings damages of the Plaintiffs total not less than $10.9 million on a future value basis and $10.4
million on a present value basis.




February 15, 2022



___________________________
Mark Rambin, CPA, CFF




                                                                                                                   5


Original Report                                Exhibit 1                                             Page 007
                       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 8 of 46
             Original Report                     Exhibit 1                            Exhibit A

                                                                                     Mark Rambin, CPA, CFF
                                                                                                   Managing Director



1717 Main Street, Suite 3380        Mark Rambin is an experienced forensic accountant with a substantial background
Dallas, Texas 75201                 in financial investigation, the analysis of economic damages issues and litigation
214.965.8534                        consulting. A Texas-licensed CPA for over 35 years, Mr. Rambin specializes in
mrambin@ea-us.com                   providing objective and fact-based analysis to his clients, allowing them to make
__________________________          better informed decisions about disputes, litigation, or other critical business
                                    challenges facing them.
Certifications
Certified Public Accountant         Financial Investigation
Certified in Financial Forensics
                                    Mr. Rambin’s experience in financial investigation includes commercial litigation
Professional Affiliations           matters as well as engagements on behalf of bankruptcy trustees, receivers, and
American Institute of Certified     numerous government authorities and regulatory agencies, including the United
Public Accountants                  States Department of Justice, the Texas Office of the Attorney General, the Federal
                                    Deposit Insurance Corporation, and the Texas Department of Insurance, among
Texas Society of Certified Public
Accountants                         others. These matters have included the investigation of complex failures of
                                    financial institutions, insurance companies, and other businesses engaged in many
National Association of Forensic
Economics
                                    industries. This work has been utilized in civil litigation and criminal prosecutions of
                                    former officers and directors, insiders, outside professionals, and other parties
Education                           alleged to have caused damages, received preferential transfers, or committed
Bachelor of Business                illegal acts.
Administration – Accounting
University of Texas at Austin
                                    Economic Damages Issues
                                    Mr. Rambin is regularly engaged by both plaintiff and defense litigation counsel to
                                    provide investigation, analysis, and expert opinions concerning economic damages
                                    related to disputes, claims, and litigation. Such matters often relate to claims of lost
                                    profits, business interruption losses, professional liability claims, complex property
                                    loss, personal injury or employment related claims, and trademark or trade secret
                                    disputes. His opinions, often presented through written reports and expert
                                    testimony, have been presented before Federal and State District courts and
                                    Bankruptcy courts in multiple jurisdictions throughout Texas and in other states.

                                    Litigation Consulting
                                    Mr. Rambin also has significant experience in working with counsel and their clients
                                    in performing general litigation consulting. He often provides plaintiff or defense
                                    counsel with investigation and fact-finding related to unasserted claims. In litigation
                                    matters, he regularly works closely with counsel to develop discovery plans, to
                                    identify potential sources of information, to draft production requests and
                                    interrogatories, and to analyze and evaluate large document populations. Mr.
                                    Rambin also works to prepare for depositions of fact and expert witnesses through
                                    the identification of relevant documents or issues, outside research, and with expert
Echelon Analytics is not
                                    witnesses, through the detailed analysis of their expert reports, including the
a CPA Firm.
                                    research of their prior reports and testimony in other matters. He has substantial
                                    experience in working with counsel in asserting or responding to Daubert-type

                                                                                                                ea-us.com




             Original Report                              Exhibit 1                                        Page 008
    Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 9 of 46
Original Report               Exhibit 1                            Exhibit A
                         Mark Rambin, CPA, CFF

                challenges to the admissibility of accounting, financial, or other economic expert
                testimony.


                Mr. Rambin's experience includes engagements in the following industries, among
                others:
                   Agricultural and Commodities          •   Manufacturing and Distribution
                   Banking and Financial Services        •   Mortgage Lending and Servicing
                   Communications                        •   Oil & Gas Exploration and Production
                   Construction                          •   Professional Services
                   Health Care                           •   Real Estate Development
                   High Technology                       •   Real Estate Management
                   Hospitality                           •   Retail
                   Insurance – Property & Casualty       •   Software
                   Insurance – Regulatory & Insolvency   •   Transportation

                Professional Experience
                Some examples of Mr. Rambin's case experience include:
                    Accounting Malpractice

                       Audit failures. Evaluated whether the accountant’s work was conducted in
                        accordance with Generally Accepted Auditing Standards. Reconstructed
                        business and accounting records to determine the true financial condition of
                        the company under audit, identified any misstatements, and developed
                        facts to analyze interrelated liability, causation and damages issues. These
                        audit failure accounting malpractice claims have involved audits of enterprises
                        in several industries including financial institutions, manufacturing and
                        distribution, commodities, retail sales, and insurance entities. The accounting
                        firms involved have ranged from sole practitioners to regional, international,
                        and the major Big 4 firms.

                       Tax shelters. Served as a consulting expert to plaintiff counsel in an
                        accounting malpractice matter involving allegedly abusive tax shelters, in
                        which a Big 4 firm was a defendant. Assisted counsel with drafting
                        discovery, identifying and interviewing potential expert witnesses,
                        researching and documenting applicable professional standards, and in the
                        review and analysis of a large volume of working papers, internal
                        communications, and internal policy and technical standards information
                        produced by the defendants. Provided assistance to counsel in their
                        preparations for the depositions of client service team members including
                        independent research of their professional backgrounds, their specific roles
                        on the engagements in question, and in the identification of potential
                        deposition exhibits and areas of inquiry. A significant confidential
                        settlement was reached at the conclusion of the depositions of these
                        individuals.


                                                                                                     2


Original Report                      Exhibit 1                                       Page 009
    Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 10 of 46
Original Report                Exhibit 1                           Exhibit A
                        Mark Rambin, CPA, CFF

                      Financial restatement and accounting malpractice claim. Engaged by
                       Multi-national Corporation to investigate prior financial reporting practices
                       of U.S. subsidiary. Identified significant overstatements of net income due
                       to improper use of percentage of completion accounting method. Assisted
                       client in the restatement process and in the successful pursuit of an
                       accounting malpractice claim against prior outside auditor.

                   Oil & Gas Industry
                      Oil Field Service Provider Fraud Claims. Evaluated claims that a water and
                       wastewater hauling service provider was overbilling a mid-major
                       exploration and production company for its services. Performed a
                       comprehensive analysis and identified a massive scheme to defraud the
                       exploration and production company. Provided expert testimony before
                       the presiding bankruptcy judge in the Southern District of Texas resulting in
                       a significant judgement entered against the service provider.

                      Joint Interest Audits and Investigations. Provided assistance to working
                       interest owners of individual wells or prospect ventures to evaluate
                       whether the Operator was appropriately conducting joint interest
                       operations in accordance with the Operating Agreement or other applicable
                       agreements.

                      Litigation matters. Provided expert services related to litigation between
                       working interest owners and Operator of prospect concerning alleged
                       breach of exploration agreement and overcharges and inappropriate
                       expenditures billed to the joint interest. Assisted in litigation related to
                       disputes over a natural gas farm-out agreement and the related
                       development rights. This matter involved analysis of over 40 years of
                       production and development records and coordination with a team of
                       engineers and geologists in order to evaluate both the factual issues
                       involved as well as the basis for damages claimed. Evaluated damage claims
                       related to a dispute arising from the sale of a natural gas gathering system
                       including analysis of historical and current operating and financial
                       information in relation to the offering memorandum provided to
                       prospective purchasers.

                      Consulting project related to closely-held oil and gas holdings. Led a
                       project team in the analysis of the administration of a complex family estate
                       and multiple related trusts involving in oil and gas working interests valued
                       in excess of one billion dollars and located throughout the United States.
                       The objective of this project was to determine whether ownership interests
                       and other development and royalty rights had been appropriately
                       recognized over a time period in excess of 50 years. The project entailed
                       detailed tracing of legal, oil and gas production and financial records from
                       the inception of leasing and exploration activities through farm-outs, farm-
                       ins, production pooling and unitizations, non-participations and other
                       events relevant to the present ownership status of each property.


                                                                                                       3


Original Report                     Exhibit 1                                      Page 010
    Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 11 of 46
Original Report                Exhibit 1                           Exhibit A
                        Mark Rambin, CPA, CFF


                      Transactional assistance. Provided consulting services related to the
                       transfer of diverse natural gas working interests to a publicly traded
                       exploration and development company. This project required detail
                       analysis of lease and farm-out agreements, agreements related to
                       development rights, varying royalty and overriding interests, as well as
                       varying working and net revenue interests at each multiple of payout.

                      Financial reporting. Involved in numerous other financial reporting and
                       consulting engagements relating to the oil and gas industry. These
                       engagements have included exploration and production companies,
                       independent producers, natural gas processing and carbon black production
                       plants, refining operations and related oilfield service providers.

                   Bankruptcy and Insolvency

                      Oil & Gas exploration and production Company in liquidation. Assisted the
                       Chapter 7 trustee in assuming control of the offices and accounting and IT
                       systems of the debtor (whose officers and employees abandoned the
                       company offices upon the appointment of the trustee). Developed financial
                       information to enable the trustee to secure the assets of the estate and to
                       prepare schedules and monthly reporting for the court. Prepared all
                       financial information required to support numerous complex adversary
                       proceedings and other litigation related to alleged fraudulent transfers and
                       disputed ownership of certain assets of the estate.
                      International shipping vessel operator in liquidation. Assumed custody of
                       all business and accounting records and assisted the Chapter 7 trustee in
                       evaluating the solvency of the debtor in periods preceding the bankruptcy
                       filing. Analyzed insider transactions that supported an adversary
                       proceeding against the former shareholder of the company and assisted
                       with discovery, depositions, and in evaluating the advisability of a
                       compromise settlement of the claim.
                      Financial advisor in a telecommunications company Chapter 11. Performed
                       analysis on behalf of an unsecured creditors committee related to
                       determining the solvency of the estate and an assessment of the continued
                       viability of the business operations of a reorganized entity. Analyzed the
                       current and historical operating information of the company to assist the
                       committee in assessing the reasonableness of the financial projections of
                       the debtor. Provided analysis and testimony for adversary proceedings
                       against its principal lender and in the investigation of potential claims
                       against its former directors and officers and outside accountants. Worked
                       with committee counsel to develop a liquidation plan and supported the
                       committee in its evaluation of alternative bids from prospective buyers of all
                       or parts of the business.




                                                                                                   4


Original Report                     Exhibit 1                                      Page 011
    Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 12 of 46
Original Report                Exhibit 1                           Exhibit A
                        Mark Rambin, CPA, CFF

                      Regional Homebuilder. Provided consulting and testimony services to the
                       Chapter 7 trustee for the identification and prosecution of claims to recover
                       preferential transfers. Several actions related to claims against lenders
                       receiving payments on insider secured debt during the 1-year period prior
                       to bankruptcy filing. Assisted in resolving over one hundred 90-day
                       preference actions on behalf of the trustee, including providing deposition
                       and trial testimony. Performed detailed analysis of a significant volume of
                       accounting and financial records to analyze solvency issues at the 1-year
                       and 90-day periods and to identify potential preferential transfers relative
                       to those periods.

                Financial Investigation and Fraud
                      Litigation claim against the executor of a complex estate. Provided consulting
                       services to counsel defending an executor from claims asserted by a
                       beneficiary of an estate. The estate involved several generations of trusts and
                       varied asset classes including ranches, oil and gas interests, and other financial
                       assets. This engagement required the analysis of detailed historical
                       transaction records to identify appropriate treatment of distributable income
                       vs. principal and the appropriateness of reimbursement claims and other
                       transactions between the trusts, the ranches, and certain beneficiaries.

                      Investigation of claims asserted by the beneficiaries of a trust. Assisted the
                       beneficiaries of a trust and their outside counsel in the investigation of alleged
                       self-dealing by its trustee. This project involved investigation of public records
                       to identify undisclosed business relationships and related party transactions.
                       Because of these transactions, a majority of the assets of the trust were
                       invested in failed business ventures from which the trustee and his business
                       partners withdrew substantial sums of money. The beneficiaries instituted
                       litigation against the trustee based upon this investigation.

                      Fraud investigation of trustee. Worked directly with a large family enterprise
                       to investigate alleged fraudulent transactions involving the trustee of a family
                       trust. Performed detailed analysis of multiple years of transactions, obtained
                       financial records from third parties and researched the identities of several
                       businesses and individuals receiving distributions from the trust. Identified
                       unauthorized distributions made directly to the trustee and his relatives and
                       business associates. Prepared a detailed listing of questioned transactions that
                       formed the basis for the resignation of the trustee and a related claim for
                       reimbursement to the trust.
                      Borrower fraud. Investigated alleged misapplication of loan proceeds or
                       removal of funds from single-asset entities subject to a mortgage, often
                       through straw buyers, abusive property flips, misrepresentation of the lien
                       status of assets securing the transaction, or unauthorized advances to
                       related parties. These engagements often required detailed analysis of the
                       sources and uses of loan and project proceeds and an investigation of the



                                                                                                        5


Original Report                      Exhibit 1                                         Page 012
    Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 13 of 46
Original Report                Exhibit 1                           Exhibit A
                        Mark Rambin, CPA, CFF

                       appropriateness of project expenditures and other transfers to determine
                       the borrowers’ potential liability for misapplication of funds.
                      Embezzlement. Engaged by multi-state commercial property management
                       firm to investigate alleged fraud by a departed executive. Assisted client in
                       reconstruction of manipulated accounting records to quantify the loss.
                       Developed Proof of Loss for insurance claim and for the subsequent criminal
                       indictment of executive.
                      Breach of fiduciary duty. Assisted counsel in the investigation of the
                       actions of a company president. Identified significant misuse of company
                       resources including ghost employees and unauthorized reimbursement for
                       personal expenses such as personal airplane repairs and equipment
                       upgrades, travel, and home remodeling. Documented diversion of
                       corporate assets and opportunities to a competing business controlled by
                       the president. When presented with findings, the president resigned and
                       signed over ownership interests in the company and in the competing
                       business.
                      Breach of non-compete agreement. Assisted counsel in investigating the
                       abrupt departure of a group of key employees subject to a non-compete
                       agreement. Worked with computer forensics experts to analyze email and
                       other electronic records. This information documented their plans for future
                       competing business activities and their improper retention of confidential
                       and proprietary information from the employer. Findings were presented in
                       arbitration proceeding.


                   Damages Analysis in Complex Commercial Litigation


                      Manufacturing operations. Provided consulting and expert services to
                       manufacturers of industrial equipment and their counsel and insurers. In
                       these matters, the claimants alleged that the failure of the equipment
                       manufactured by the defendant interrupted the operation of a plant,
                       factory, or other business process. The industries involved included defense
                       contractors, agricultural and food products, construction, transportation,
                       and consumer goods.
                      Retail operations. Performed numerous engagements related to alleged
                       failures of landlords to perform under retail lease agreements due to
                       construction delays, equipment failures, water incursions, and fires. These
                       matters required the analysis or reconstruction of historical financial
                       information of the claimants to quantify projected lost revenues, fixed and
                       variable costs, and excluded costs or saved expenses. These projects often
                       included analysis and independent research of external factors such as general
                       economic or industry circumstances that would affect the operations of the
                       claimants and the efforts of the parties to mitigate any damages resulting from



                                                                                                    6


Original Report                     Exhibit 1                                       Page 013
    Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 14 of 46
Original Report                Exhibit 1                           Exhibit A
                        Mark Rambin, CPA, CFF

                       these events. These engagements have included the evaluation and resolution
                       of insurance claims and in matters involving litigation.
                      Major natural or man-made disasters. Provided assistance to both claimants
                       and insurers in preparing and evaluating business interruption claims related
                       to catastrophic or mass claim occurrences such as fires, hurricanes, floods, and
                       in the BP Deepwater Horizon incident. In addition to the claim considerations
                       mentioned above, these matters often required detailed analysis of the causal
                       relationship between the incident and the claimed damages.
                      Information technology. Assisted counsel in responding to litigated business
                       interruption claims related to the alleged failures of information technology
                       systems utilized by financial services organizations. One matter involved an
                       alleged system failure while the other involved deliberate sabotage. In each
                       matter, evaluating the claimed damages required the analysis of the causal
                       relationship between the facts and the alleged economic impacts and included
                       significant analysis of the claimants’ financial operations and independent
                       economic and industry research.
                      Consumer class actions. Assisted lenders who were defendants in
                       consumer class action litigation. Identified populations of potential class
                       members and analyzed specific liability issues related to the claims asserted
                       by named plaintiffs and evaluated the potential applicability of these
                       specific facts and claims to a broader population. Assisted in evaluating
                       ranges of potential financial exposure under assumed liability and damages
                       theories and various class definitions and populations.
                      Secured lending disputes. Worked with lenders in disputes involving “floor
                       plans” and other similar high-volume secured lending facilities. These have
                       included lending facilities for automobiles, boats, recreational vehicles,
                       heavy equipment, consumer paper, mortgage warehouse and premium
                       finance involving allegations of misrepresentation as to the “in trust” status
                       of the facility prior to default. Through reconstructing earlier financial
                       transactions, identified the true historical financial positions of the facility
                       and determined the methods utilized to conceal any collateral shortfalls.
                       This work has been utilized in pursuing claims against the borrowers,
                       outside accountants, and other parties.
                      Loan securitization disputes. Evaluated loan underwriting and loan loss
                       reserves regarding compliance with the written guidelines of a particular
                       financial institution or of the terms of the mortgage participation,
                       securitization or other pooling. This work has been used to evaluate
                       potential damage claims of the participants or investors in these assets and
                       in pursuit of claims against directors or officers of financial institutions or
                       other lenders.




                                                                                                      7


Original Report                      Exhibit 1                                       Page 014
                      Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 15 of 46
             Original Report                     Exhibit 1                           Exhibit A

                                                                                      Mark Rambin, CPA, CFF
                                                                                                     Managing Director




1717 Main Street, Suite 3380        Recent Prior Testimony and Expert Reports
Dallas, Texas 75201
214.965.8534 (Office)
512.422.1022 (Cell)
                                    Confidential Investment Advisor Arbitration (Engaged by Defendant), FINRA
mrambin@ea-us.com
                                    Arbitration, Houston, Texas, Expert Report
__________________________
                                    FDIC v. Hall, et al., United States District Court, Middle District of Florida, Expert
Certifications                      Report, Deposition Testimony
Certified Public Accountant
                                    Gamez v. The Estate of Parrish, County Court at Law, Rockwall County, Texas, Expert
Certified in Financial Forensics    Testimony
Professional Affiliations
American Institute of Certified
                                    Issa v. Issa, State District Court, Travis County, Texas, Expert Report
Public Accountants
                                    Ramos, et al. v. Cruz, et al. v. Lincoln Property Company Commercial, Inc., et al.,
Texas Society of Certified Public   State District Court, Dallas County, Texas, Expert Report
Accountants
National Association of Forensic    Dutch Bro LLC v. DutchPro, B.V., United States District Court, Western District of
Economics                           Texas, Austin Division, Expert Report, Deposition Testimony
Education
                                    Fuller v. Bear Rental-Purchase, LTD., et al., State District Court, Williamson County,
Bachelor of Business
Administration – Accounting         Texas, Expert Report
University of Texas at Austin
                                    Elumenus Lighting Corporation, Inc. v. Government Energy Management, LLC, et al. ,
                                    State District Court, Collin County, Texas, Expert Report, Deposition Testimony

                                    Midstates Petroleum Company, Inc. v. Triple F Oilfield Services, LLC, United States
                                    Bankruptcy Court, Southern District of Texas, Houston Division, Declaration and
                                    Expert Report, Expert Testimony

                                    Mitchell, et al. v. R&R Trucking, Inc., et al., State District Court, Childress County,
                                    Texas, Expert Report, Deposition and Court Hearing Testimony

                                    Sherry A. Coffman v. O’Reilly Automotive Stores, Inc., AAA Arbitration, Dallas, Texas,
                                    Expert Report, Arbitration Hearing Testimony

                                    Cardenas v. Ovation Services, LLC, State District Court, Travis County, Texas, Expert
                                    Report, Deposition and Trial Testimony

                                    Austin Children’s Dentistry, Inc., et al. v. Williams, State District Court, Travis County,
                                    Texas, Expert Reports

                                    Potter v. Dehan, State District Court, Travis County, Texas, Expert Reports



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             Original Report                               Exhibit 1                                          Page 015
    Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 16 of 46
Original Report                Exhibit 1                           Exhibit A
                                                                                  Mark Rambin

                FEDD Wireless, LLC, et al. v. Flowserve US Inc., et al., State District Court, Harris
                County, Texas, Expert Report, Deposition and Trial Testimony

                White Oak Global Advisors, LLC v. Tommy W. Weder, Sr., United States District
                Court, Western District of Oklahoma, Expert Report

                Gray v. J.H. Strain & Sons, Inc., State District Court, Taylor County, Texas, Expert
                Report

                Dynesic Technologies, Inc. v. Ali Mutlu, et al., State District Court, Dallas County,
                Texas, Expert Reports, Deposition Testimony

                Mary M. Young, et al. v. Keith P. Young, Sr., et al., Probate Court, Dallas County,
                Texas, Expert Reports, Deposition Testimony

                Halbert, et al. v. Scott, et al., State District Court, Travis County, Texas, Expert
                Reports

                England v. O’Reilly Automotive Parts, et al., United States District Court, Eastern
                District of Texas, Tyler Division, Expert Report

                Wagner v. Starwood Custom Homes LLC, et al., AAA Arbitration, Dallas, Texas,
                Expert Report, Deposition and Arbitration Hearing Testimony

                Englehart, et al. v. Van Dyke, et al., United States District Court, Southern District of
                Texas, Houston Division, Expert Report

                National Rifle Association of America, et al., v. Ackerman McQueen, Inc., United
                States District Court, Northern District of Texas, Dallas Division, Expert Reports

                Van Brummen v. Hess Corporation, United States District Court, Southern District of
                Texas, Houston Division, Expert Report

                Hugh Gray v. Mariam Gray, Circuit Court of Maryland for Baltimore County, Expert
                Report, Trial Testimony

                Coffman v. Uniti Group, et al., Circuit Court for Baldwin County, Alabama, Expert
                Reports




                                                                                                            2


Original Report                        Exhibit 1                                         Page 016
       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 17 of 46
Original Report                               Exhibit 1
Expert Report of Mark Rambin                       Townsley, et al. v. International Business Machines Corporation


Exhibit B. Information Considered
As of February 15, 2021


  PL’s Bates Label                                DESCRIPTION
  Davidson ______
        0169            Compensation Summary 2013-2014
        0173            Emince & Excellence Award 2015 – Cash Award
        0175            IBM Recognition Email 2015 - $1000
     0229-232           National Payroll Service – IBM 9/16/17-9/30/17; 10/16/17-10/31/17
     0256-259           National Payroll Service – IBM 3/16/18-4/15/18
     0262-263           Employee Salary Statement
        0302            IBM Profit Share Notification – 2019
     0365-377           Worker Profile
     0397-398           W-2 2019
     0399-405           W-2 2020
     0406-436           TX Workforce Commision Search Log
     0445-447           Cognizant Offer Letter
     0536-537           2021 Form W-2

   DF Bates Label                                 DESCRIPTION
  IBK-DAV ______
      0000154           Portfolio Actions
    0000307-309         Employee Profile Information – Roselyn Wolfe
    0000310-445         Semi- Monthly Pay and Contributions Statement 1/1/17-12/30/2019
    0000446-447         IBM Ltr 10-9-20 re 2016-2019 Salary Description
    0000459-461         Employee Profile Information – Rosa Davidson
    0000690-692         Employee Profile Information – Jacqueline Wilson
      0000599           Simulation UTL30
      0000592           UTL30
      0000590           Simulating reductions of HC in IOT Platform and Watson Assistant
                        for 2020
      0000589           UTL Breakdown
      0000580           Maple Assumptions
      0000575           Maple Assumptions
      0000572           Maple Assumptions
      0000510           Summary of Q1-Q4
      0000629           Q2-Q4 Savings
      0000628           Q2-Q4 Savings
      0000627           Q2-Q4 Savings
      0000626           Q2-Q4 Savings
      0000625           Q2-Q4 Savings
      0000624           Q2-Q4 Savings
      0000623           Q2-Q4 Savings
      0000622           Q2-Q4 Savings
      0000621           Portfolio Actions
      0000619           Simulation at UTL30 for all actions




Original Report                               Exhibit 1                                           Page 017
       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 18 of 46
Original Report                                  Exhibit 1
Expert Report of Mark Rambin                           Townsley, et al. v. International Business Machines Corporation


Exhibit B. Information Considered
As of February 15, 2021


      0000618           UTL20 and UTL30
      0000617           Simulation at UTL30 for all actions
      0000616           Q2-Q4 Savings
      0000608           Maple Assumptions
      0000604           Portfolio Actions
      0000603           Platform UTL30
      0000658           UTL Breakout
      0000644           Q2-Q4 Summary
      0000643           Q2-Q4 Summary
      0000640           Platform UTL30
      0000641           Platform UTL30
      0000639           Platform UTL30
      0000638           Portfolio Actions
      0000637           Q2-Q4 Savings
      0000636           Q2-Q4 Savings
      0000635           Q2-Q4 Savings
      0000634           Q2-Q4 Savings
      0000633           Q2-Q4 Savings
      0000632           Q2-Q4 Savings
      0000631           Q2-Q4 Savings
      0000630           Q2-Q4 Savings

     PL’s Bates Label                                              DESCRIPTION
       DO ______
       0297-2099               Email from Rene Neumann to team re referral bonus for candidates to fill roles
           0300                Growth Driver Profit-Sharing Statement - $1400.00
           0339                W-2 2018
           0340                W-2 2019
       3041-0342               IRS Tax Info 2019
       0343-0344               IRS Tax Info 2020
        0346-352               2018 Form W-2
        0353-375               2021 Unemployment Compensation Information

     DF Bates Label                                               DESCRIPTION
     IBK-DO ______
      0000188-190              Employee Profile Information – Andres Herrera
      0000191-193              Employee Profile Information – Michel Dirk
      0000407-409              Employee Profile Information – Gao Ounying
      0000508-510              Employee Profile Information - Cai Young
        583-817                Semi-Monthly Pay and Contribution Statement – Thanh Do 1/1/15- 12/30/19




                                                                                                                    2


Original Report                                  Exhibit 1                                            Page 018
       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 19 of 46
Original Report                                  Exhibit 1
Expert Report of Mark Rambin                           Townsley, et al. v. International Business Machines Corporation


Exhibit B. Information Considered
As of February 15, 2021


     PL’s Bates Label                                               DESCRIPTION
    Gelphman ______
         0052-54               1040 Tax Form 2018
         0055-57               1040 Tax Form 2019
           0058                W2 Earnings Summary 2020
         0061-62               Blue Yonder Earnings Statements
        0118-121               Janet Gelphman Resume
       0130-0151               Timeline of Events
       0173-0174               Email re Senior Deisgner Position
       0182-0194               Employement Agreement – GTN Technical Staffing
           0224                Email re Gelphman’s preferred rate/salary
       1003-1006               Zip Recruiter Job Listings with title and salary
       1667-1668               2020 Form 1040
           1669                2018 Form 1099-G

      DF Bates Label                                                DESCRIPTION
    IBMK-GEL ______
       0000066-68              Employree Profile Info – Ana Morales
       0000077-79              Employee Profile Info – Janet Gelphman
      0000154-202              Semi Monlthy Pay and Contribution Statements 1/1/16-12/31/16
      0000203-251              Semi Monthly Pay and Contribution Statements 1/1/17- 12/31/17
      0000252-273              Semi Monthly Pay and Contribution Statements 1/1/18-6/15/18
         0000274               Pay and Contribution Statement 6/22/18
         0000276               Pay and Contribution Statement 7/23/18
         0000277               Pay and Contribution Statement 12/27/18

     PL’s Bates Label          DESCRIPTION
      Hoque ______
           0103                IBM 401(k) Plus Plan
           0104                Client Sources of Income Verification
        0106-178               2020 Form 1040
        0186-187               2021 Form W-2

     DF Bates Label            DESCRIPTION
   IBMK-HOQ ______
     0000172-174               Employee Profile Information – Natalie Vest
        0000176                IBM – Salary Breakdown 10-9-20
     0000177-179               IBM ltr re payroll info 10-23-18
                               Checks from IBM to Hoque
      0000193-195              Employee Profile Information – Titon Hoque

     PL’s Bates Label          DESCRIPTION
      Kelly ______



                                                                                                                    3


Original Report                                  Exhibit 1                                            Page 019
       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 20 of 46
Original Report                                  Exhibit 1
Expert Report of Mark Rambin                           Townsley, et al. v. International Business Machines Corporation


Exhibit B. Information Considered
As of February 15, 2021


        0122-124               Email frm Kelly to Allen Downes re revenue generated
          0125                 Email frm Kelly to Allen Downes re no Q1 bonus rec’d
        0150-152               Email frm Kelly to Andrea Sayles re PIP and bonus rec’d
        0178-200               2020 Form 1040
        0225-228               Forms W-2 and 1099-G


      DF Bates Label           DESCRIPTION
    IBMK-KEL ______
         0000004               Investigation Summary – Q1 bonus
       0000097-98              Employee History – Mike Kelly
      0000101-102              Itemized Salary Description 2016-2018
      0000109-111              Employee Profile Information – Michael Kelly

     PL’s Bates Label          DESCRIPTION
    Noffsinger ______
       0001-0146               Noffsinger document production
        0147-154               2021 Forms W-2
           0155                Morgan Stanley account statement


      DF Bates Label           DESCRIPTION
    IBMK-NOF ______
      0000001-231              Semi-MonthlyPay and Contributions Statement
      0000236-238              Employee profile info, including salary
      0000286-407              Semi-MonthlyPay and Contributions Statement
      0000604-620              2018 Global Performance Assessment
      0000621-629              2019 Global Performance Assessment
      0000630-632              Employee profile info, including salary
      0000634-635              Employee History including awards $
         0000637               Pay stub
      0000640-651              Employment offer & 401k
       0000957961              Form W-4 (2019) and tax return
      0000970-973              EOX Vanatge Employment offer
      0000977-979              EOX pay stubs and W-2

     PL’s Bates Label          DESCRIPTION
      Sauro ______
         0025-26               Ltr from J. Cox to Sauro re Federal Tax Return
       0028-0035               Form 1040 (2018 tax yr)
         0036-37               Form 8949 (2018 tax yr)
         0038-39               Form 8889 (2018 tax yr)
           0040                Form 8879 (2018 tax yr)



                                                                                                                    4


Original Report                                  Exhibit 1                                            Page 020
       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 21 of 46
Original Report                                 Exhibit 1
Expert Report of Mark Rambin                         Townsley, et al. v. International Business Machines Corporation


Exhibit B. Information Considered
As of February 15, 2021


          0041                 Federal Support Statements
          0042                 Summary of Estimates
          0043                 Estimated Tax Wrksht
          0044                 Computation of Regular Tax (2018)
          0045                 Qualified Dividends of form 1040 (2018)
          0046                 Investment Income of the Earned Income of form 1040 (2018)
          0047                 Carryover Wrksht (2018)
          0048                 Tax Return Comparison (2018)
         0049-50               Payment Voucher Filing instructions (2018)
        0051-0054              2020 Form 1040-ES Payment Vouchers
         0055-63               Form 1040 (2019)
         0064-65               Form 8889 (2019)
          0066                 Form 8995 (2019)
         0067-70               Form 8283 (2019)
         0071-76               Form 1040/ 1040 SR (2019)
         0077-81               Form 8960 (2019)
        0082-100               Charitable Organization Wrksht
          0101                 Persional Info Wrksht (2019)
        0102-0104              W-2/W-2G Summary (2019)
        0105-107               Form 1095-A (2019)
        0108-109               1099-R (2019)
        0110-114               Form 1099-SA (2019)
        0115-117               Form 1040 (2019)
        0118-119               Form 1099-B (2019)
        0120-121               IRA Contributions Wrksht (2019)
          0122                 Medical Expenses Wrksht (2019)
          0123                 Tx Payments Wrksht (2019)
        0124-125               Tax and Interest Deduction Worksheet (2019)
          0126                 Localty for Sale Tax Deductions (2019)
          0127                 State and Local Tax Deduction Worksheet (2019)
          0128                 Home Mortgage Interest Worksheet (2019)
          0129                 Cash Contributions (2019)
        0130-138               Noncash Contributions (2019)
        0139-143               Charitable Deduction Limits Wrksht (2019)
          0144                 Misc. Itemized Deductions Wrksht (2019)
          0145                 Standard Deduction Worksheet for Dependents (2019)
          0146                 Earned Income Worksheet (2019)
          0147                 Form 4952 Investment Interest Expense Worksheet (2019)
        0148-150               Form 1040 Earned Income Credit Worksheet (2019)
          0151                 Form 4684 Casualty and Theft Worksheet (2019)
        0152-159               Form 6251 Schedule D Tax Worksheet (2019)
        0160-162               IRA Info Wrksht (2019)
          0163                 Form 8582 Modified Adjusted Gross Income Worksheet



                                                                                                                  5


Original Report                                 Exhibit 1                                           Page 021
       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 22 of 46
Original Report                                 Exhibit 1
Expert Report of Mark Rambin                          Townsley, et al. v. International Business Machines Corporation


Exhibit B. Information Considered
As of February 15, 2021


          0164                 Two-Year Comparisons (2019)
          0165                 Tax Summary (2019)
          0166                 Compare to U. S. Averages (2019)
        0167-181               W-4 (2019)
        0182-193               Smart Worksheets from your 2019 Federal Tax Return (2019)
        0194-197               Form 1099-B Worksheet (AMERICAN ENTERPRISE INVESTMENT)
        0251-274               2020 Form 1040
        0275-277               2021 Form 1099-NEC

      DF Bates Label           DESCRIPTION
    IBMK-SAU ______
      0000178-179              Employee Personal Information – Carroll Hummer
      0000190-192              Employee Personal Information – Chris Fender
      0000274-276              Employee Personal Information – James Martinson
      0000280-282              Employee Personal Information – John Kirian
      0000283-285              Employee Personal Information – Kevin Zachary
      0000351-353              Employee Personal Information – Michael Ashwell
      0000354-355              IBM – Salary Itemized 2016-2018
      0000367-369              Employee Personal Information – Thaddeus Trask
      0000370-372              Employee Personal Information – William Taylor
      0000585-594              Application for Employment – Sauro
      0000600-602              Employee Profile Information – Michael Sauro
      0000621-623              IBM Salary Sheet
         0000624               Internal IBM Employment Date Pairs
         0000625               Payroll Confirmation 6-4-79
      0000634-683              Semi-Monthly Pay and Contribution Statement (2015)
         0000730               W9 – Sauro 2020
      0000731-733              2020 Nonemployee Compensation
      0000734-744              Sedera, Inc. – Sauro (with invoices)
      0000745-750              Emails between Sauro and Sedera re invoices

     PL’s Bates Label          DESCRIPTION
    Townsley ______
       0026-0032               Revenue and ACV Bookings 1/25/17
       0033-0039               Revenue and ACV Booking 7/24/17
       0040-0067               Tax Return 2020
       0080-0088               Revenue and ACV Booking 1/25/17
       0089-0093               Incentive Statements 1/1/17-6/3017
       0094-0097               Incentive Statements 1/1/17-6/3017 (dup.)
       0098-0104               Revenue and ACV Booking 7/24/17 (dup.)
       0105-0109               Incentive Statements 1/7/17-12/31/17
       0110-0115               Incentive Statements 1/1/18-6/30/18
       0116-0122               Incentive Statements 1/1/18-6/30/18 (dup.)



                                                                                                                   6


Original Report                                 Exhibit 1                                            Page 022
       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 23 of 46
Original Report                                 Exhibit 1
Expert Report of Mark Rambin                          Townsley, et al. v. International Business Machines Corporation


Exhibit B. Information Considered
As of February 15, 2021


        0123-0128              Incentive Statements 1/1/18-6/30/18
        0129-0131              Incentive Plan Search 2015
        0132-0134              Incentive Plan Search 2016
        0135-0156              IBM Benefit Program
        0157-0158              Semi Monthly Oay and Contributions Statement 6/1-6/15/18
        0159-0161              Employee History
        0163-0165              Incentive Plan Search 2015 (dup.)
        0166-0168              Incentive Plan Search 2016
        0169-0183              Incentive Statement 2017
        0184-0200              Incentive Statement 2018
        0201-0210              Incentive Calculation 2018
        0211-0213              Employee History (dup.)
        0214-0217              Performance Assessment 2016
        0218-0220              Performance Assessment 2017
        0221-0246              100 Percent Club 2017
        0247-0251              100 Percent Club 2018
        0265-0268              Performance Assessment 2016 (dup.)
        0269-0272              Performance Assessment 2017 (dup.)
          0273                 Direct Pay Confirmation 12/15/2020
        0277-0278              Eminence and Excellence Cash Award 5/18/18
        0279-0280              Eminence and Excellence Cash Award 5/18/18 (dup.)
        0284-0311              100 Percent Club 2017 (dup.)
        0319-0321              Employee History (dup.)
        0322-0326              SEA Honorees 2014
          0327                 Bonus Log
        0328-0332              SEA Honorees 2014 (dup.)
        0334-0369              Tax Return 2018
        0370-0403              Tax Return 2019
        0404-0407              Unemployment Benefits
        0411-601               Forms 1040 2013-2020 and 2018 Unemploment information
        0602-603               2021 Form W-2

     DF Bates Label            DESCRIPTION
   IBMK-TOW ______
      0000096-99               Emails re overpayment to Townsley
     0000100-103               Email re payment
        0000111                Employee Chart with salary codes
     0000168-170               Employee Profile Information – Justin Crohn
     0000381-383               Employee Profile Information – Kalman Gyimesi
     0000384-433               Semi-Monthly Payroll Statements 1/1/15-
        0000541                Employee Chart with salary codes
        0000586                Revenue chart
        0000588                Revenue chart



                                                                                                                   7


Original Report                                 Exhibit 1                                            Page 023
       Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 24 of 46
Original Report                                Exhibit 1
Expert Report of Mark Rambin                         Townsley, et al. v. International Business Machines Corporation


Exhibit B. Information Considered
As of February 15, 2021


        0000600                Pipeline Indicators
        0000601                Pipeline Indicators
        0000603                Pipeline Progression
        0000604                Revenue Chart
      0000723-863              Emails between Townsley and IBM re money owed by Townsley
      0000881-1048             Emails between Townsley and IBM re money owed by Townsley (2)
        0001069                Pipeline Indicators
        0001070                Pipeline Indicators
        0001074                Pipeline Progression
        0001078                Pipeline Progression
      0001191-1206             Emails between Townsley and IBM re money owed by Townsley (3)
      0001234-1244             Emails between Townsley and IBM re money owed by Townsley (4)
      0001269-1270             IBM Salary Itemizations (2016-2018)
    0001271-0001277            IBM Confidential Performance Assessment
      0001280-1289             IBM Application for Employment (5/13/1985)
        0001339                Fidelity – Define Benefit System
      0001340-1342             Position and Salary Chart
        0001343                Personal Pension Account
        0001344                Date of Hire wrksht
      0001345-1346             Update Misc. Hire Data
      0001360-1361             Checklist of Financial Obligations/ Property
      0001380-1382             Employee Profile Information – Chuck Townlsey
      0001408-1411             Earning Report
     00001412-1417             Oracle – Payroll Report
      0001418-1422             W2 2019
      0001423-1431             State Tax Rules 2019-2021
      0001432-1445             FY21 Annual Evaluation - Oracle
      0001452-1458             Health – Election History 2019-2020
      0001460-1495             Time Entry Report - Oracle
      0001496-1497             Job Offer Ltr – Oracle 5/14/2019
        NATIVES
        0000596                Cloud Node Based Weekly Key Deals Report
        0000594                Cloud Node Based Weekly Key Deals Report
        0000588                Total Pipeline
          586                  Total Pipeline
          600                  SOM Excel
          604                  Total Pipeline

    Social Security Administration Average Wage Index 1984-2020
    Social Security Administration Cost Of Living Adjustments 1975-2022
    Federal Open Market Committee Summary of Economic Projections December 15, 2021




                                                                                                                  8


Original Report                                Exhibit 1                                            Page 024
         Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 25 of 46
   Original Report                  Exhibit 1                           Exhibit C



                                        Rosa Davidson

                                     General Information
                     Damages Date:                               9/30/2019
                     Trial or Settlement Date:                   10/1/2022
                     Interest Rate (Past Damages):               2.00%
                     Discount Rate (Future Damages):             2.50%
                     Periodic Compounding:                       Annually
                     Present Value Interest Calculation:         Simple Interest



                                     Plaintiff Information
                       Gender:                                        Female
                       Race:                                          Hispanic
                       Birth Date:                                    4/10/1962
                       Age at Injury:                                 57.47
                       Projected Retirement Age*:                     70.00
                       Projected Age at Death**:                      86.65


          *     Ms. Davidson has stated that her intention was to remain employed by IBM
                until age 70.
          ** Life expectancy calculated for Hispanic women. Study used: United States Life
             Tables, 2017 by Elizabeth Arias, Ph.D., and Jiaquan Xu, M.D., Division of Vital
             Statistics, National Vital Statistics Reports, Volume 68, Number 7, June 24 2019.


                                        Damages Summary
                                             Future Values                       Present Values
                                         Pre-Trial      Post-Trial         Pre-Trial      Post-Trial
          Lost Income                      $96,815        $165,664          $100,176        $146,222
          Lost Fringe Benefits             $88,187         $73,522           $91,327         $64,893
          Subtotal: Lost Earnings         $185,003        $239,185          $191,503        $211,115
          Other Damages                          $0              $0                $0              $0
          Total Damages                   $185,003        $239,185          $191,503        $211,115
          Grand Total Damages                    $424,188                          $402,617




Rosa Davidson                                                                                           Page 1 of 2


   Original Report                               Exhibit 1                                        Page 025
                Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 26 of 46
    Original Report                        Exhibit 1                           Exhibit C



                                                        Lost Income

                       Projected Employment Without Damages
    From               To               Occupation                    Employer               Initial     Benefits % Pre-Trial Post-Trial
                                                                                             Salary                 Growth     Growth
    10/01/19       04/10/32        Software Developer                    IBM                $147,372      44.38%     3.00%      3.00%




                Actual and Projected Employment With Damages
         From          To               Occupation                    Employer               Initial     Benefits % Pre-Trial Post-Trial
                                                                                             Salary                 Growth     Growth
     10/01/19      12/31/19            Unemployed                  Texas Workforce           $7,605        0.00%     0.00%      0.00%
                                                                     Commission
     01/01/20      05/31/20            Unemployed                  Texas Workforce          $11,829        0.00%        0.00%       0.00%
                                                                     Commission
     06/01/20      11/29/20           Consultant                   Aditi Consulting          $82,460       0.00%        0.00%       0.00%
     11/30/20      12/31/20        Security Architect            Cognizant Technology       $145,000      44.38%        0.00%       0.00%
     01/01/21      04/10/32        Security Architect            Cognizant Technology       $145,000      44.38%        0.00%       3.00%




                                              Pre-Trial Lost Income
 Period         From          To         Income       Benefits       Total       Income       Benefits       Total         Loss        Present
                                                                   Uninjured                                Injured                     Value
   1       09/30/19         12/31/19     $37,146      $16,485       $53,631       $7,605          $0        $7,605        $46,026      $48,556
   2       01/01/20         12/31/20    $151,793      $67,366      $219,159      $106,967       $5,626     $112,593      $106,566     $110,291
   3       01/01/21         12/31/21    $156,347      $69,387      $225,734      $145,000      $64,351     $209,351       $16,383      $16,628
   4       01/01/22         09/30/22    $119,553      $53,058      $172,611      $108,452      $48,131     $156,583       $16,028      $16,028
 Total     09/30/19         09/30/22    $464,839     $206,296      $671,135      $368,024     $118,108     $486,132      $185,003     $191,503




                                             Post-Trial Lost Income
 Period         From         To         Income       Benefits        Total       Income       Benefits        Total        Loss        Present
                                                                  Uninjured                                  Injured                    Value
   1       10/01/22     12/31/22         $40,590      $18,014       $58,604      $36,821       $16,341       $53,163       $5,442       $5,408
   2       01/01/23     12/31/23        $165,868      $73,612      $239,481     $150,467       $66,777      $217,244      $22,237      $21,562
   3       01/01/24     12/31/24        $170,845      $75,821      $246,665     $154,981       $68,781      $223,761      $22,904      $21,683
   4       01/01/25     12/31/25        $175,970      $78,095      $254,065     $159,630       $70,844      $230,474      $23,591      $21,817
   5       01/01/26     12/31/26        $181,249      $80,438      $261,687     $164,419       $72,969      $237,388      $24,299      $21,964
   6       01/01/27     12/31/27        $186,686      $82,851      $269,538     $169,352       $75,158      $244,510      $25,028      $22,123
   7       01/01/28     12/31/28        $192,287      $85,337      $277,624     $174,432       $77,413      $251,845      $25,779      $22,294
   8       01/01/29     12/31/29        $198,056      $87,897      $285,953     $179,665       $79,735      $259,401      $26,552      $22,477
   9       01/01/30     12/31/30        $203,997      $90,534      $294,531     $185,055       $82,128      $267,183      $27,349      $22,671
  10       01/01/31     12/31/31        $210,117      $93,250      $303,367     $190,607       $84,591      $275,198      $28,169      $22,877
  11       01/01/32     12/31/32         $58,458      $25,944       $84,402      $53,030       $23,535       $76,565       $7,837       $6,238
 Total     10/01/22     12/02/48       $1,784,124    $791,794     $2,575,918   $1,618,460     $718,273     $2,336,733    $239,185     $211,115




Lost Income                                                                                                                         Page 2 of 2


    Original Report                                              Exhibit 1                                                 Page 026
           Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 27 of 46
   Original Report                    Exhibit 1                           Exhibit C



                                            Thanh Do

                                     General Information
                     Damages Date:                               9/4/2019
                     Trial or Settlement Date:                   10/1/2022
                     Interest Rate (Past Damages):               2.00%
                     Discount Rate (Future Damages):             2.50%
                     Periodic Compounding:                       Annually
                     Present Value Interest Calculation:         Simple Interest



                                     Plaintiff Information
                       Gender:                                     Female
                       Race:                                       White
                       Birth Date:                                 2/20/1961
                       Age at Injury:                              58.54
                       Projected Retirement Age*:                  66.85
                       Projected Age at Death**:                   84.45


           *   Worklife expectancy calculated for all women active in the workforce with a
               master's degree. Study used: The Markov Process Model of Labor Force Activity:
               Extended Tables of Central Tendency, Shape, Percentile Points, and Bootstrap
               Standard Errors, Gary R. Skoog, James E. Ciecka and Kurt V. Krueger, Journal of
               Forensic Economics, 22(2), 2011.
           ** Life expectancy calculated for white women. Study used: United States Life
              Tables, 2017 by Elizabeth Arias, Ph.D., and Jiaquan Xu, M.D., Division of Vital
              Statistics, National Vital Statistics Reports, Volume 68, Number 7, June 24, 2019.




Thanh Do                                                                                           Page 1 of 3


   Original Report                               Exhibit 1                                    Page 027
           Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 28 of 46
   Original Report                    Exhibit 1                           Exhibit C



                                     Damages Summary
                                          Future Values                Present Values
                                      Pre-Trial      Post-Trial    Pre-Trial      Post-Trial
           Lost Income                 $347,961        $786,893     $354,980        $729,989
           Lost Fringe Benefits        $180,763        $349,223     $184,671        $323,969
           Subtotal: Lost Earnings     $528,723      $1,136,116     $539,651      $1,053,959
           Other Damages                      $0              $0           $0              $0
           Total Damages               $528,723      $1,136,116     $539,651      $1,053,959
           Grand Total Damages               $1,664,839                   $1,593,610




Thanh Do                                                                                        Page 2 of 3


   Original Report                           Exhibit 1                                  Page 028
                Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 29 of 46
   Original Report                         Exhibit 1                           Exhibit C



                                                     Lost Income

                       Projected Employment Without Damages
         From          To              Occupation                   Employer              Initial     Benefits % Pre-Trial Post-Trial
                                                                                          Salary                 Growth     Growth
    09/04/19       12/27/27     Senior Software Engineer              IBM                $126,173      44.38%     3.00%      3.00%




                Actual and Projected Employment With Damages
         From          To              Occupation                   Employer              Initial     Benefits % Pre-Trial Post-Trial
                                                                                          Salary                 Growth     Growth
    09/04/19       12/31/19            Unemployed                Texas Workforce          $6,591        0.00%     0.00%      0.00%
                                                                   Commission
    01/01/20       12/31/20            Unemployed                Texas Workforce         $31,773        0.00%       0.00%       0.00%
                                                                   Commission
    01/01/21       12/31/21            Unemployed                Texas Workforce         $20,982        0.00%       0.00%       0.00%
                                                                   Commission




                                             Pre-Trial Lost Income
 Period         From           To       Income       Benefits       Total      Income      Benefits        Total       Loss        Present
                                                                  Uninjured                              Injured                    Value
   1        09/04/19        12/31/19     $41,136     $18,256       $59,392      $6,591        $0          $6,591      $52,801      $55,703
   2        01/01/20        12/31/20    $129,958     $57,675      $187,634     $31,773        $0         $31,773     $155,861     $161,309
   3        01/01/21        12/31/21    $133,857     $59,406      $193,263     $20,982        $0         $20,982     $172,281     $174,858
   4        01/01/22        09/30/22    $102,356     $45,425      $147,781        $0          $0            $0       $147,781     $147,781
 Total      09/04/19        09/30/22    $407,307    $180,763      $588,069     $59,346        $0         $59,346     $528,723     $539,651




                                            Post-Trial Lost Income
 Period         From          To        Income      Benefits        Total      Income     Benefits      Total         Loss        Present
                                                                 Uninjured                             Injured                     Value
   1       10/01/22         12/31/22    $34,751      $15,423       $50,174         $0        $0           $0         $50,174      $49,860
   2       01/01/23         12/31/23   $142,009      $63,024      $205,032         $0        $0           $0        $205,032     $198,809
   3       01/01/24         12/31/24   $146,269      $64,914      $211,183         $0        $0           $0        $211,183     $199,927
   4       01/01/25         12/31/25   $150,657      $66,862      $217,519         $0        $0           $0        $217,519     $201,164
   5       01/01/26         12/31/26   $155,177      $68,867      $224,044         $0        $0           $0        $224,044     $202,517
   6       01/01/27         12/31/27   $158,029      $70,133      $228,163         $0        $0           $0        $228,163     $201,682
 Total     10/01/22         08/04/45   $786,893     $349,223     $1,136,116        $0        $0           $0       $1,136,116   $1,053,959




Lost Income                                                                                                                     Page 3 of 3


   Original Report                                              Exhibit 1                                              Page 029
         Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 30 of 46
   Original Report                  Exhibit 1                           Exhibit C



                                       Janet Gelphman

                                    General Information
                    Damages Date:                               6/27/2018
                    Trial or Settlement Date:                   10/1/2022
                    Interest Rate (Past Damages):               2.00%
                    Discount Rate (Future Damages):             2.50%
                    Periodic Compounding:                       Annually
                    Present Value Interest Calculation:         Simple Interest



                                    Plaintiff Information
                      Gender:                                     Female
                      Race:                                       White
                      Birth Date:                                 2/9/1955
                      Age at Injury:                              63.38
                      Projected Retirement Age*:                  69.08
                      Projected Age at Death**:                   85.28


          *   Worklife expectancy calculated for all women active in the workforce with a
              bachelor's degree. Study used: The Markov Process Model of Labor Force
              Activity: Extended Tables of Central Tendency, Shape, Percentile Points, and
              Bootstrap Standard Errors, Gary R. Skoog, James E. Ciecka and Kurt V. Krueger,
              Journal of Forensic Economics, 22(2), 2011.
          ** Life expectancy calculated for white women. Study used: United States Life
             Tables, 2017 by Elizabeth Arias, Ph.D., and Jiaquan Xu, M.D., Division of Vital
             Statistics, National Vital Statistics Reports, Volume 68, Number 7, June 24, 2019.




Janet Gelphman                                                                                    Page 1 of 3


   Original Report                              Exhibit 1                                    Page 030
         Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 31 of 46
   Original Report                  Exhibit 1                           Exhibit C



                                   Damages Summary
                                        Future Values              Present Values
                                    Pre-Trial     Post-Trial    Pre-Trial      Post-Trial
         Lost Income                  $64,616       ($12,947)     $70,181        ($12,568)
         Lost Fringe Benefits         $49,840        ($5,746)     $53,519         ($5,578)
         Subtotal: Lost Earnings     $114,456       ($18,693)    $123,700        ($18,146)
         Other Damages                      $0             $0           $0              $0
         Total Damages               $114,456       ($18,693)    $123,700        ($18,146)
         Grand Total Damages                $95,763                     $105,554




Janet Gelphman                                                                          Page 2 of 3


   Original Report                         Exhibit 1                                 Page 031
                Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 32 of 46
   Original Report                         Exhibit 1                           Exhibit C



                                                       Lost Income

                       Projected Employment Without Damages
         From          To               Occupation                   Employer               Initial    Benefits % Pre-Trial Post-Trial
                                                                                            Salary                Growth     Growth
    06/27/18       03/09/24             UX Designer                    IBM                 $99,996      44.38%     3.00%      3.00%




                Actual and Projected Employment With Damages
         From          To               Occupation                   Employer               Initial    Benefits % Pre-Trial Post-Trial
                                                                                            Salary                Growth     Growth
    06/27/18      12/31/18             Unemployment               Texas Workforce          $10,374       0.00%     0.00%      0.00%
                                       Compensation                 Commission
    01/01/19      07/31/19             Unemployment               Texas Workforce           $2,470       0.00%      0.00%        0.00%
                                       Compensation                 Commission
    08/01/19      11/30/19             UX Contractor                    GTN                 $39,872       0.00%     0.00%        0.00%
    12/01/19      03/09/24              UX Architect              Blue Yonder Inc.         $120,410      44.38%     0.00%        3.00%




                                              Pre-Trial Lost Income
 Period         From          To         Income       Benefits      Total       Income      Benefits        Total      Loss        Present
                                                                  Uninjured                               Injured                   Value
   1        06/27/18        12/31/18     $51,505       $22,858     $74,363        $5,343        $0         $5,343     $69,019      $74,193
   2        01/01/19        12/31/19    $102,996       $45,710    $148,705       $52,569      $4,539      $57,107     $91,598      $96,632
   3        01/01/20        12/31/20    $106,086       $47,081    $153,167      $120,410     $53,438     $173,848    ($20,681)    ($21,404)
   4        01/01/21        12/31/21    $109,268       $48,493    $157,762      $120,410     $53,438     $173,848    ($16,086)    ($16,327)
   5        01/01/22        09/30/22     $83,554       $37,081    $120,635       $90,060     $39,969     $130,029     ($9,394)     ($9,394)
 Total      06/27/18        09/30/22    $453,408      $201,223    $654,631      $388,792    $151,383     $540,175    $114,456     $123,700




                                             Post-Trial Lost Income
 Period         From           To        Income       Benefits      Total       Income      Benefits       Total       Loss        Present
                                                                  Uninjured                               Injured                   Value
   1        10/01/22        12/31/22     $28,368      $12,590      $40,958       $30,577    $13,570       $44,147     ($3,189)     ($3,169)
   2        01/01/23        12/31/23    $115,923      $51,447     $167,369      $124,950    $55,453      $180,402    ($13,033)    ($12,638)
   3        01/01/24        12/31/24     $21,976       $9,753      $31,730       $23,688    $10,513       $34,200     ($2,471)     ($2,339)
 Total      10/01/22        05/19/40    $166,267      $73,789     $240,056      $179,214    $79,535      $258,750    ($18,693)    ($18,146)




Lost Income                                                                                                            Page 3 of 3


   Original Report                                               Exhibit 1                                             Page 032
         Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 33 of 46
   Original Report                  Exhibit 1                           Exhibit C



                                        Titon Hoque

                                    General Information
                    Damages Date:                                7/18/2018
                    Trial or Settlement Date:                    10/1/2022
                    Interest Rate (Past Damages):                2.00%
                    Discount Rate (Future Damages):              2.50%
                    Periodic Compounding:                        Annually
                    Present Value Interest Calculation:          Simple Interest



                                    Plaintiff Information
                      Gender:                                        Male
                      Race:                                          White
                      Birth Date:                                    1/24/1974
                      Age at Injury:                                 44.48
                      Projected Retirement Age*:                     70.00
                      Projected Age at Death**:                      79.25


          *   Mr. Hoque has stated that it was his intention to remain employed by IBM until
              age 70.
          ** Life expectancy calculated for white men. Study used: United States Life Tables,
             2017 by Elizabeth Arias, Ph.D., and Jiaquan Xu, M.D., Division of Vital Statistics,
             National Vital Statistics Reports, Volume 68, Number 7, June 24, 2019.


                                       Damages Summary
                                            Future Values                       Present Values
                                        Pre-Trial      Post-Trial           Pre-Trial      Post-Trial
          Lost Income                    $278,054        $700,631            $292,626        $543,867
          Lost Fringe Benefits           $196,087        $310,940            $205,244        $241,368
          Subtotal: Lost Earnings        $474,140      $1,011,571            $497,870        $785,236
          Other Damages                         $0              $0                  $0              $0
          Total Damages                  $474,140      $1,011,571            $497,870        $785,236
          Grand Total Damages                  $1,485,711                          $1,283,106




Titon Hoque                                                                                              Page 1 of 3


   Original Report                              Exhibit 1                                        Page 033
                Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 34 of 46
   Original Report                         Exhibit 1                           Exhibit C



                                                        Lost Income

                       Projected Employment Without Damages
         From          To                 Occupation                   Employer               Initial     Benefits % Pre-Trial Post-Trial
                                                                                              Salary                 Growth     Growth
       07/18/18    01/24/44            Technical Services                 IBM                $158,952      44.38%     3.00%      3.00%
                                         Professional




                Actual and Projected Employment With Damages
         From          To                Occupation                    Employer               Initial     Benefits % Pre-Trial Post-Trial
                                                                                              Salary                 Growth     Growth
       07/18/18    12/31/18              Unemployed                  Texas Workforce          $8,398        0.00%     0.00%      0.00%
                                                                       Commission
       01/01/20    12/31/20           Sole Proprietor                    HHH LLC             $155,384       0.00%       0.00%       0.00%
       01/01/21    01/24/44        Technology Specialist        Austin Community College     $154,324      44.38%       0.00%       3.00%




                                                 Pre-Trial Lost Income
 Period         From          To          Income       Benefits       Total       Income       Benefits        Total       Loss        Present
                                                                   Uninjured                                  Injured                   Value
   1        07/18/18        12/31/18      $72,726       $32,276     $105,002       $8,398         $0          $8,398      $96,604     $103,845
   2        01/01/19        12/31/19     $163,721       $72,659     $236,380         $0           $0             $0      $236,380     $249,371
   3        01/01/20        12/31/20     $168,632       $74,839     $243,471      $155,384        $0         $155,384     $88,087      $91,167
   4        01/01/21        12/31/21     $173,691       $77,084     $250,775      $154,324      $68,489      $222,813     $27,962      $28,381
   5        01/01/22        09/30/22     $132,816       $58,944     $191,759      $115,426      $51,226      $166,652     $25,107      $25,107
 Total      07/18/18        09/30/22     $711,585      $315,802    $1,027,387     $433,532     $119,715      $553,247    $474,140     $497,870




                                               Post-Trial Lost Income
Period      From            To          Income       Benefits       Total       Income        Benefits        Total        Loss        Present
                                                                  Uninjured                                  Injured                    Value
   1      10/01/22     12/31/22         $45,093      $20,012       $65,105       $39,189       $17,392       $56,581       $8,524       $8,471
   2      01/01/23     12/31/23        $184,269      $81,779      $266,047      $160,142       $71,071      $231,214      $34,834      $33,777
   3      01/01/24     12/31/24        $189,797      $84,232      $274,029      $164,947       $73,203      $238,150      $35,879      $33,967
   4      01/01/25     12/31/25        $195,491      $86,759      $282,250      $169,895       $75,399      $245,295      $36,955      $34,177
   5      01/01/26     12/31/26        $201,356      $89,362      $290,717      $174,992       $77,661      $252,653      $38,064      $34,406
   6      01/01/27     12/31/27        $207,396      $92,042      $299,439      $180,242       $79,991      $260,233      $39,206      $34,656
   7      01/01/28     12/31/28        $213,618      $94,804      $308,422      $185,649       $82,391      $268,040      $40,382      $34,923
   8      01/01/29     12/31/29        $220,027      $97,648      $317,675      $191,218       $84,863      $276,081      $41,593      $35,210
   9      01/01/30     12/31/30        $226,628     $100,577      $327,205      $196,955       $87,409      $284,364      $42,841      $35,515
  10      01/01/31     12/31/31        $233,426     $103,595      $337,021      $202,864       $90,031      $292,894      $44,126      $35,837
  11      01/01/32     12/31/32        $240,429     $106,702      $347,132      $208,950       $92,732      $301,681      $45,450      $36,178
  12      01/01/33     12/31/33        $247,642     $109,904      $357,546      $215,218       $95,514      $310,732      $46,814      $36,536
  13      01/01/34     12/31/34        $255,071     $113,201      $368,272      $221,675       $98,379      $320,054      $48,218      $36,912
  14      01/01/35     12/31/35        $262,723     $116,597      $379,320      $228,325      $101,331      $329,655      $49,665      $37,305
  15      01/01/36     12/31/36        $270,605     $120,095      $390,700      $235,175      $104,370      $339,545      $51,155      $37,716
  16      01/01/37     12/31/37        $278,723     $123,697      $402,421      $242,230      $107,502      $349,731      $52,689      $38,145
  17      01/01/38     12/31/38        $287,085     $127,408      $414,493      $249,497      $110,727      $360,223      $54,270      $38,591
  18      01/01/39     12/31/39        $295,698     $131,231      $426,928      $256,982      $114,048      $371,030      $55,898      $39,054



Lost Income                                                                                                                         Page 2 of 3


   Original Report                                                Exhibit 1                                                Page 034
           Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 35 of 46
   Original Report                    Exhibit 1                           Exhibit C


Period    From        To        Income     Benefits     Total     Income    Benefits     Total      Loss     Present
                                                     Uninjured                          Injured               Value
  19     01/01/40   12/31/40    $304,568   $135,167   $439,736   $264,691   $117,470   $382,161   $57,575    $39,535
  20     01/01/41   12/31/41    $313,706   $139,223   $452,928   $272,632   $120,994   $393,626   $59,302    $40,034
  21     01/01/42   12/31/42    $323,117   $143,399   $466,516   $280,811   $124,624   $405,434   $61,081    $40,551
  22     01/01/43   12/31/43    $332,810   $147,701   $480,511   $289,235   $128,363   $417,598   $62,914    $41,085
  23     01/01/44   12/31/44     $21,866    $9,704     $31,570    $19,003    $8,434     $27,437    $4,134     $2,656
 Total   10/01/22   04/24/53   $5,351,144 $2,374,838 $7,725,982 $4,650,514 $2,063,898 $6,714,412 $1,011,571 $785,236




Lost Income                                                                                              Page 3 of 3


   Original Report                                    Exhibit 1                                    Page 035
          Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 36 of 46
   Original Report                   Exhibit 1                           Exhibit C



                                        Michael Kelly

                                     General Information
                     Damages Date:                                6/30/2018
                     Trial or Settlement Date:                    10/1/2022
                     Interest Rate (Past Damages):                2.00%
                     Discount Rate (Future Damages):              2.50%
                     Periodic Compounding:                        Annually
                     Present Value Interest Calculation:          Simple Interest



                                     Plaintiff Information
                       Gender:                                      Male
                       Race:                                        White
                       Birth Date:                                  12/30/1958
                       Age at Injury:                               59.50
                       Projected Retirement Age*:                   66.73
                       Projected Age at Death**:                    81.70


           *    Worklife expectancy calculated for all men active in the workforce with a
                bachelor's degree. Study used: The Markov Process Model of Labor Force
                Activity: Extended Tables of Central Tendency, Shape, Percentile Points, and
                Bootstrap Standard Errors, Gary R. Skoog, James E. Ciecka and Kurt V. Krueger,
                Journal of Forensic Economics, 22(2), 2011.
           ** Life expectancy calculated for white men. Study used: United States Life Tables,
              2017 by Elizabeth Arias, Ph.D., and Jiaquan Xu, M.D., Division of Vital Statistics,
              National Vital Statistics Reports, Volume 68, Number 7, June 24, 2019.




Michael Kelly                                                                                       Page 1 of 3


   Original Report                               Exhibit 1                                     Page 036
          Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 37 of 46
   Original Report                   Exhibit 1                           Exhibit C



                                     Damages Summary
                                          Future Values               Present Values
                                      Pre-Trial      Post-Trial    Pre-Trial      Post-Trial
           Lost Income                 $340,030        ($31,210)    $359,587        ($29,340)
           Lost Fringe Benefits        $162,188        ($13,851)    $171,310        ($13,021)
           Subtotal: Lost Earnings     $502,218        ($45,061)    $530,897        ($42,360)
           Other Damages                      $0              $0           $0              $0
           Total Damages               $502,218        ($45,061)    $530,897        ($42,360)
           Grand Total Damages                $457,157                     $488,536




Michael Kelly                                                                                   Page 2 of 3


   Original Report                           Exhibit 1                                  Page 037
                Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 38 of 46
   Original Report                         Exhibit 1                           Exhibit C



                                                          Lost Income

                       Projected Employment Without Damages
         From          To               Occupation                   Employer               Initial     Benefits % Pre-Trial Post-Trial
                                                                                            Salary                 Growth     Growth
     06/30/18      09/22/25            Sales Specialist                IBM                 $254,230      44.38%     0.00%      0.00%




                Actual and Projected Employment With Damages
         From          To               Occupation                    Employer              Initial     Benefits % Pre-Trial Post-Trial
                                                                                            Salary                 Growth     Growth
    01/01/19       04/30/19            Unemployment               Texas Workforce           $5,434        0.00%     0.00%      0.00%
                                                                    Commission
    05/01/19       12/31/19            Senior Director               HID Global            $113,258       44.38%       0.00%       0.00%
    01/01/20       08/31/20            Senior Director               HID Global            $166,000       44.38%       0.00%       0.00%
    09/01/20       12/31/20            Unemployment               Texas Workforce           $19,988        0.00%       0.00%       0.00%
                                                                    Commission
    01/01/21       09/22/25        Global Channel Director           Measurabl             $250,000       44.38%       0.00%       3.00%




                                                Pre-Trial Lost Income
 Period         From          To         Income       Benefits       Total       Income      Benefits        Total        Loss        Present
                                                                  Uninjured                                 Injured                    Value
   1       06/30/18     12/31/18        $128,856       $57,186     $186,043        $0          $0              $0       $186,043     $199,988
   2       01/01/19     12/31/19        $254,230      $112,827     $367,057     $118,692     $50,264       $168,956     $198,101     $208,989
   3       01/01/20     12/31/20        $254,230      $112,827     $367,057     $185,988     $73,671       $259,659     $107,398     $111,153
   4       01/01/21     12/31/21        $254,230      $112,827     $367,057     $250,000    $110,950       $360,950      $6,107       $6,199
   5       01/01/22     09/30/22        $190,150       $84,389     $274,539     $186,986     $82,985       $269,971      $4,568       $4,568
 Total     06/30/18     09/30/22       $1,081,696     $480,057    $1,561,753    $741,666    $317,869      $1,059,536    $502,218     $530,897




                                              Post-Trial Lost Income
 Period         From          To        Income       Benefits       Total       Income      Benefits Total Injured        Loss        Present
                                                                 Uninjured                                                             Value
   1       10/01/22         12/31/22     $64,080      $28,439      $92,519      $63,485      $28,175       $91,660        $859          $854
   2       01/01/23         12/31/23    $254,230     $112,827     $367,057     $259,426     $115,133      $374,559      ($7,501)      ($7,274)
   3       01/01/24         12/31/24    $254,230     $112,827     $367,057     $267,208     $118,587      $385,796     ($18,738)     ($17,739)
   4       01/01/25         12/31/25    $184,578      $81,916     $266,494     $198,209      $87,965      $286,174     ($19,680)     ($18,201)
 Total     10/01/22         09/10/40    $757,118     $336,009    $1,093,127    $788,328     $349,860     $1,138,188    ($45,061)     ($42,360)




Lost Income                                                                                                                        Page 3 of 3


   Original Report                                               Exhibit 1                                                Page 038
          Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 39 of 46
   Original Report                   Exhibit 1                           Exhibit C



                                     Walter Noffsinger

                                     General Information
                     Damages Date:                                6/22/2020
                     Trial or Settlement Date:                    10/1/2022
                     Interest Rate (Past Damages):                2.00%
                     Discount Rate (Future Damages):              2.50%
                     Periodic Compounding:                        Annually
                     Present Value Interest Calculation:          Simple Interest



                                     Plaintiff Information
                       Gender:                                        Male
                       Race:                                          White
                       Birth Date:                                    3/7/1960
                       Age at Injury:                                 60.29
                       Projected Retirement Age*:                     70.00
                       Projected Age at Death**:                      81.86


           *   Mr. Noffsinger has stated that it was his intention to remain employed by IBM
               until age 70.
           ** Life expectancy calculated for white men. Study used: United States Life Tables,
              2017 by Elizabeth Arias, Ph.D., and Jiaquan Xu, M.D., Division of Vital Statistics,
              National Vital Statistics Reports, Volume 68, Number 7, June 24, 2019.


                                        Damages Summary
                                             Future Values                       Present Values
                                         Pre-Trial      Post-Trial           Pre-Trial      Post-Trial
          Lost Income                     $387,288      $1,206,489            $393,615      $1,090,765
          Lost Fringe Benefits            $182,496        $535,440            $185,628        $484,082
          Subtotal: Lost Earnings         $569,784      $1,741,929            $579,243      $1,574,847
          Other Damages                    $94,071               $0            $97,360               $0
          Total Damages                   $663,855      $1,741,929            $676,602      $1,574,847
          Grand Total Damages                   $2,405,784                          $2,251,449




Walter Noffsinger                                                                                    Page 1 of 3


   Original Report                               Exhibit 1                                        Page 039
                Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 40 of 46
   Original Report                         Exhibit 1                           Exhibit C



                                                       Lost Income

                       Projected Employment Without Damages
         From          To               Occupation                   Employer               Initial     Benefits % Pre-Trial Post-Trial
                                                                                            Salary                 Growth     Growth
     06/22/20      03/07/30              Director                       IBM                $347,987      44.38%     3.00%      3.00%




                Actual and Projected Employment With Damages
         From          To               Occupation                   Employer                Initial Benefits % Pre-Trial Post-Trial
                                                                                             Salary             Growth     Growth
    06/23/20       09/14/20        Unemployed                      Colorado DOL             $29,252    0.00%     0.00%      0.00%
    09/15/20       12/31/20 VP of Product Management               EOX Vantage             $200,000   44.38%     0.00%      0.00%
                                      and BD
    09/15/20       09/16/20 VP of Product Management            EOX Vantage - Signing      $12,000        0.00%       0.00%       0.00%
                                      and BD                          Bonus
    01/01/21       05/15/21 VP of Product Management                EOX Vantage            $71,623       44.38%       0.00%       0.00%
                                      and BD
    05/16/21       07/19/21        Unemployed                      Colorado DOL             $29,252       0.00%       0.00%       0.00%
    07/20/21       12/31/21        VP of Product                      Section              $105,866      44.38%       0.00%       0.00%
    01/01/22       03/07/30        VP of Product                      Section              $225,000      44.38%       0.00%       3.00%




                                                Pre-Trial Lost Income
 Period         From          To        Income       Benefits       Total       Income       Benefits        Total       Loss        Present
                                                                 Uninjured                                  Injured                   Value
   1       06/22/20         12/31/20    $183,501      $81,438     $264,939       $77,730      $26,191      $103,921    $161,018     $166,647
   2       01/01/21         12/31/21    $358,427     $159,070     $517,496      $182,698      $78,770      $261,468    $256,028     $259,858
   3       01/01/22         09/30/22    $274,076     $121,635     $395,711      $168,288      $74,686      $242,974    $152,738     $152,738
 Total     06/22/20         09/30/22    $816,004     $362,143    $1,178,147     $428,716     $179,647      $608,363    $569,784     $579,243




                                             Post-Trial Lost Income
Period      From            To         Income       BenefitsTotal     Income                Benefits       Total       Loss     Present
                                                         Uninjured                                        Injured                Value
   1      10/01/22     12/31/22      $93,053    $41,297   $134,351    $56,712               $25,169       $81,881    $52,469    $52,141
   2      01/01/23     12/31/23     $380,255   $168,757   $549,012   $231,750              $102,851      $334,601   $214,411   $207,904
   3      01/01/24     12/31/24     $391,662   $173,820   $565,482   $238,703              $105,936      $344,639   $220,844   $209,072
   4      01/01/25     12/31/25     $403,412   $179,034   $582,447   $245,864              $109,114      $354,978   $227,469   $210,366
   5      01/01/26     12/31/26     $415,515   $184,405   $599,920   $253,239              $112,388      $365,627   $234,293   $211,780
   6      01/01/27     12/31/27     $427,980   $189,938   $617,918   $260,837              $115,759      $376,596   $241,322   $213,313
   7      01/01/28     12/31/28     $440,820   $195,636   $636,455   $268,662              $119,232      $387,894   $248,561   $214,962
   8      01/01/29     12/31/29     $454,044   $201,505   $655,549   $276,722              $122,809      $399,531   $256,018   $216,726
   9      01/01/30     12/31/30      $82,541    $36,632   $119,173    $50,305               $22,326       $72,631    $46,542    $38,582
 Total    10/01/22     01/14/42    $3,089,283 $1,371,024 $4,460,306 $1,882,793             $835,584     $2,718,377 $1,741,929 $1,574,847




Lost Income                                                                                                            Page 2 of 3


   Original Report                                              Exhibit 1                                                Page 040
            Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 41 of 46
   Original Report                     Exhibit 1                           Exhibit C



                                         Other Damages

                              Summary of Other Damages
   Start          End      Type*          Description              Vendor            Amount       Growth     Occurs
 06/22/20       06/22/20     E     Forfeit of Unvested RSU's        IBM             $94,071.00                Once

                                           * E = Expense, R = Reimbursement



                                   Pre-Trial Other Damages
       Period                   From                      To             Loss of Unvested RSU’s     Present Value
          1                   06/22/20                 12/31/20                  $94,071               $97,360
        Total                 06/22/20                 09/30/22                  $94,071               $97,360




Other Damages                                                                                        Page 3 of 3


   Original Report                                  Exhibit 1                                       Page 041
         Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 42 of 46
   Original Report                  Exhibit 1                           Exhibit C



                                        Michael Sauro

                                     General Information
                     Damages Date:                                6/30/2018
                     Trial or Settlement Date:                    10/1/2022
                     Interest Rate (Past Damages):                2.00%
                     Discount Rate (Future Damages):              2.50%
                     Periodic Compounding:                        Annually
                     Present Value Interest Calculation:          Simple Interest



                                     Plaintiff Information
                       Gender:                                        Male
                       Race:                                          White
                       Birth Date:                                    11/8/1954
                       Age at Injury:                                 63.64
                       Projected Retirement Age*:                     70.00
                       Projected Age at Death**:                      82.69


           *    Mr. Sauro has stated that it was his intention to remain employed by IBM until
                age 70.
           ** Life expectancy calculated for white men. Study used: United States Life Tables,
              2017 by Elizabeth Arias, Ph.D., and Jiaquan Xu, M.D., Division of Vital Statistics,
              National Vital Statistics Reports, Volume 68, Number 7, June 24, 2019.


                                        Damages Summary
                                             Future Values                    Present Values
                                         Pre-Trial      Post-Trial        Pre-Trial      Post-Trial
          Lost Income                     $870,357        $433,954         $899,606        $417,991
          Lost Fringe Benefits            $388,861        $192,589         $401,918        $185,505
          Subtotal: Lost Earnings        $1,259,217       $626,542        $1,301,524       $603,496
          Other Damages                          $0              $0               $0              $0
          Total Damages                  $1,259,217       $626,542        $1,301,524       $603,496
          Grand Total Damages                   $1,885,760                       $1,905,020




Michael Sauro                                                                                          Page 1 of 2


   Original Report                               Exhibit 1                                     Page 042
             Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 43 of 46
    Original Report                     Exhibit 1                           Exhibit C



                                                       Lost Income

                        Projected Employment Without Damages
          From          To              Occupation                   Employer                 Initial    Benefits % Pre-Trial Post-Trial
                                                                                              Salary                Growth     Growth
     06/30/18       11/08/24              Director                     IBM                   $205,934     44.38%     0.00%      0.00%




                 Actual and Projected Employment With Damages
          From          To               Occupation                   Employer                Initial    Benefits % Pre-Trial Post-Trial
                                                                                              Salary                Growth     Growth
     01/01/20       12/31/20            Nonemployee                  Sedera, Inc.             $4,250       0.00%     0.00%      0.00%
                                        Compensation
     01/01/21       12/31/21            Nonemployee                  Sedera, Inc.             $1,600       0.00%       0.00%       0.00%
                                        Compensation




                                              Pre-Trial Lost Income
 Period          From          To        Income       Benefits       Total       Income       Benefits      Total        Loss        Present
                                                                  Uninjured                                Injured                    Value
   1        06/30/18         12/31/18   $104,378       $46,323     $150,700        $0            $0           $0       $150,700     $161,997
   2        01/01/19         12/31/19   $205,934       $91,394     $297,328        $0            $0           $0       $297,328     $313,668
   3        01/01/20         12/31/20   $205,934       $91,394     $297,328      $4,250          $0        $4,250      $293,078     $303,323
   4        01/01/21         12/31/21   $205,934       $91,394     $297,328      $1,600          $0        $1,600      $295,728     $300,151
   5        01/01/22         09/30/22   $154,027       $68,357     $222,385        $0            $0           $0       $222,385     $222,385
 Total      06/30/18         09/30/22   $876,207      $388,861    $1,265,067     $5,850          $0        $5,850     $1,259,217   $1,301,524




                                             Post-Trial Lost Income
 Period          From           To        Income       Benefits      Total          Income      Benefits     Total        Loss        Present
                                                                   Uninjured                                Injured                    Value
    1        10/01/22        12/31/22     $51,907       $23,036     $74,943           $0          $0           $0        $74,943      $74,474
    2        01/01/23        12/31/23    $205,934       $91,394    $297,328           $0          $0           $0       $297,328     $288,303
    3        01/01/24        12/31/24    $176,113       $78,159    $254,272           $0          $0           $0       $254,272     $240,719
  Total      10/01/22        07/18/37    $433,954      $192,589    $626,542           $0          $0           $0       $626,542     $603,496




Lost Income                                                                                                                        Page 2 of 2


    Original Report                                              Exhibit 1                                                Page 043
          Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 44 of 46
   Original Report                   Exhibit 1                           Exhibit C



                                     Charles Townsley

                                     General Information
                     Damages Date:                                6/16/2018
                     Trial or Settlement Date:                    10/1/2022
                     Interest Rate (Past Damages):                2.00%
                     Discount Rate (Future Damages):              2.50%
                     Periodic Compounding:                        Annually
                     Present Value Interest Calculation:          Simple Interest



                                     Plaintiff Information
                       Gender:                                      Male
                       Race:                                        White
                       Birth Date:                                  7/15/1961
                       Age at Injury:                               56.92
                       Projected Retirement Age*:                   67.39
                       Projected Age at Death**:                    81.08


           *   Worklife expectancy calculated for all men active in the workforce with a
               master's degree. Study used: The Markov Process Model of Labor Force Activity:
               Extended Tables of Central Tendency, Shape, Percentile Points, and Bootstrap
               Standard Errors, Gary R. Skoog, James E. Ciecka and Kurt V. Krueger, Journal of
               Forensic Economics, 22(2), 2011.
           ** Life expectancy calculated for white men. Study used: United States Life Tables,
              2017 by Elizabeth Arias, Ph.D., and Jiaquan Xu, M.D., Division of Vital Statistics,
              National Vital Statistics Reports, Volume 68, Number 7, June 24, 2019.




Charles Townsley                                                                                    Page 1 of 3


   Original Report                               Exhibit 1                                     Page 044
          Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 45 of 46
   Original Report                   Exhibit 1                           Exhibit C



                                    Damages Summary
                                         Future Values                Present Values
                                     Pre-Trial      Post-Trial    Pre-Trial      Post-Trial
          Lost Income                 $865,193        $856,297     $900,132        $789,914
          Lost Fringe Benefits        $398,655        $380,025     $414,995        $350,564
          Subtotal: Lost Earnings    $1,263,849     $1,236,322    $1,315,127     $1,140,478
          Other Damages                      $0              $0           $0              $0
          Total Damages              $1,263,849     $1,236,322    $1,315,127     $1,140,478
          Grand Total Damages               $2,500,171                   $2,455,604




Charles Townsley                                                                           Page 2 of 3


   Original Report                           Exhibit 1                                 Page 045
                Case 1:20-cv-00969-DAE Document 107-3 Filed 06/13/22 Page 46 of 46
    Original Report                        Exhibit 1                           Exhibit C



                                                    Lost Income

                       Projected Employment Without Damages
          From         To           Occupation                      Employer              Initial    Benefits % Pre-Trial Post-Trial
                                                                                          Salary                Growth     Growth
     06/16/18       12/04/28         Manager                          IBM                $350,000     44.38%     0.00%      0.00%




                 Actual and Projected Employment With Damages
         From          To           Occupation                      Employer              Initial    Benefits % Pre-Trial Post-Trial
                                                                                          Salary                Growth     Growth
     06/16/18       12/31/18       Unemployed                   Texas Workforce           $2,964       0.00%     0.00%
                                                                  Commission
     01/01/19       12/31/19        Contractor              APC Workforce Solutions II   $24,192       0.00%      0.00%     0.00%
                                                                      LLC
     01/01/19       12/31/19       Unemployed                   Texas Workforce           $5,928       0.00%      0.00%     0.00%
                                                                  Commission
     01/01/19       12/31/19         Manager                         Oracle               $91,741     44.38%      0.00%     0.00%
     01/01/20       12/31/20         Manager                         Oracle              $180,515     44.38%      0.00%     0.00%
     01/01/21       12/04/28         Manager                         Oracle              $189,977     44.38%      0.00%     3.00%




                                            Pre-Trial Lost Income
 Period         From        To      Income        Benefits        Total        Income     Benefits      Total       Loss      Present
                                                               Uninjured                               Injured                 Value
   1        06/16/18    12/31/18    $190,822      $84,687       $275,509      $2,964        $0         $2,964     $272,545   $292,974
   2        01/01/19    12/31/19    $350,000     $155,330       $505,330     $121,861     $40,715     $162,576    $342,754   $361,592
   3        01/01/20    12/31/20    $350,000     $155,330       $505,330     $180,515     $80,113     $260,628    $244,702   $253,257
   4        01/01/21    12/31/21    $350,000     $155,330       $505,330     $189,977     $84,312     $274,289    $231,041   $234,497
   5        01/01/22    09/30/22    $261,781     $116,178       $377,959     $142,092     $63,061     $205,153    $172,806   $172,806
 Total      06/16/18    09/30/22   $1,502,603    $666,855      $2,169,458    $637,409    $268,200     $905,609   $1,263,849 $1,315,127




                                         Post-Trial Lost Income
Period       From           To     Income        Benefits        Total     Income   Benefits    Total       Loss     Present
                                                              Uninjured                        Injured                Value
   1       10/01/22    12/31/22  $88,219         $39,152       $127,371    $48,243   $21,410   $69,653    $57,718    $57,357
   2       01/01/23    12/31/23 $350,000        $155,330       $505,330   $197,140   $87,491  $284,630   $220,700   $214,001
   3       01/01/24    12/31/24 $350,000        $155,330       $505,330   $203,054   $90,115  $293,169   $212,161   $200,853
   4       01/01/25    12/31/25 $350,000        $155,330       $505,330   $209,145   $92,819  $301,964   $203,366   $188,075
   5       01/01/26    12/31/26 $350,000        $155,330       $505,330   $215,420   $95,603  $311,023   $194,307   $175,636
   6       01/01/27    12/31/27 $350,000        $155,330       $505,330   $221,882   $98,471  $320,354   $184,976   $163,507
   7       01/01/28    12/31/28 $324,180        $143,871       $468,052   $211,218   $93,739  $304,957   $163,094   $141,048
 Total     10/01/22    08/14/42 $2,162,400      $959,673      $3,122,072 $1,306,102 $579,648 $1,885,750 $1,236,322 $1,140,478




Lost Income                                                                                                         Page 3 of 3


    Original Report                                           Exhibit 1                                              Page 046
